              Case 3:11-cr-05408-RJB               Document 96   Filed 04/06/12   Page 1 of 2



 1                                                                       Judge Bryan
 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10

11
      UNITED STATES OF AMERICA,                           )
12
                                                          )   NO. CR11-5408RJB
                                               Plaintiff, )
13
                                                          )   ORDER PROHIBITING CONTACT
                               v.                         )   WITH VICTIMS AND
14
                                                          )   GOVERNMENT WITNESSES
      ALEXANDER WALLS,                                    )
15
      and                                                 )
      REGINALD IRVIN,                                     )
16
                                                          )
                                             Defendants.
17
              Pursuant to the government’s Motion for an Order Prohibiting Contact with
18
     Victims and Government Witnesses, and this Court having considered the entirety of the
19
     record and files herein, and no response being filed, the Court finds that the government
20
     has established good cause for the Court to prohibit the defendants from having any
21
     contact with victims and government witnesses.
22
              IT IS HEREBY ORDERED that Defendants Alexander Walls and Reginald Irvin
23
     are prohibited from having any contact, direct or indirect, with the victims referenced in
24
     the Third Superseding Indictment as Female-1, Female-2, Female-3, Female-4, Female-5,
25

26

27

28


                                                                                  UNITED STATES ATTORNEY
                                                                                  1201 Pacific Avenue, Suite 700
     United States v. Chang Kim et al, - 1                                         Tacoma, Washington 98402
     No. CR12-5004RBL                                                                    (253) 428-3800
              Case 3:11-cr-05408-RJB         Document 96     Filed 04/06/12     Page 2 of 2



 1   and Female-6, and government witnesses including the parents and relatives of Female-1
 2   through Female-6. This Order does not preclude counsel for the Defendants to request
 3   defense interviews of the victims or witnesses.
 4

 5            DATED this 6th day of April, 2012.
 6

 7

 8

 9

10
                                                 A
                                                 Robert J Bryan
                                                 United States District Judge
11

12

13

14   Presented by:

15

16
     s/ Ye-Ting Woo
17   YE-TING WOO
18
     Assistant United States Attorney
     Washington State Bar Association No. 21208
19   United States Attorney’s Office
     700 Stewart Street, Suite 5220
20   Seattle, Washington 98101
21
     Telephone: 206-553-2268; Fax: 206-553-4986
     E-mail: Ye-Ting.Woo@usdoj.gov
22

23

24

25

26

27

28


                                                                                UNITED STATES ATTORNEY
                                                                                1201 Pacific Avenue, Suite 700
     United States v. Chang Kim et al, - 2                                       Tacoma, Washington 98402
     No. CR12-5004RBL                                                                  (253) 428-3800
